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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

Energy Future Holdings, Inc., et al.,                 Case No. 14-10979 (CSS)
                                                      (Jointly Administered)
                        Debtors.



                                   CERTIFICATE OF SERVICE

         I hereby certify that on September 12, 2014, I caused to be served a copy of the

Statement of the United States Trustee In Opposition to Entry of an Order Approving Stipulation

Regarding Protocol for Certain Case Matters (D. I. 1947), via email, fax and/or regular mail

upon the parties listed below.

Edward O. Sassower, P.C.                              John P. Melko, Esquire
Stephen E. Hessler, Esquire                           Gardere Wynne Sewell, LLP
Brian E. Schartz, Esquire                             Wells Fargo Plaza, Suite 3400
Chad J. Husnick, Esquire                              1000 Louisiana
Kirkland & Ellis LLP                                  Houston, TX 77002
601 Lexington Avenue                                  Email: jmelko@gardere.com
New York, New York 10022-4611
Email: esassower@kirkland.com                         Benjamin L. Stewart, Esquire
Email: shessler@kirkland.com                          Bailey Brauer PLLC
Email: chusnick@kirkland.com                          Campbell Centre I
Email: bschartz@kirkland.com                          8350 N. Central Expy, Suite 935
                                                      Dallas, TX 75206
Daniel J. DeFranceschi, Esquire                       Email: bstewart@baileybrauer.com
Mark A. Collins, Esquire
Jason M. Madron, Esquire                              Ellen W. Slights, AUSA
Richards, Layton & Finger                             United States Attorney’s Office
One Rodney Square, P.O. Box 551                       District of Delaware
Wilmington, DE 19899                                  1007 N. Orange Street, Suite 700
Email: defranceschi@rlf.com                           Wilmington, DE 19801
Email: madron@rlf.com                                 Email: Ellen.slights@usdoj.gov
Email: collins@rlf.com
           Case 14-10979-CSS       Doc 2007-2   Filed 09/12/14    Page 2 of 12




William P. Bowden, Esquire
Gregory A. Taylor, Esquire                      Karen C. Bifferato, Esquire
Ashby & Geddes, PA                              Kelly M. Conlan, Esquire
500 Delaware Avenue                             Connolly Gallagher LLP
P.O. Box 1150                                   1000 West Street, Suite 1400
Wilmington, DE 19899                            Wilmington, DE 19801
Email: wbowden@ashby-geddes.com                 Email: kbifferato@connollygallagher.com
Email: gtaylor@ashby-geddes.com                 Email: kconlan@connollygallagher.com

Mark Minuti, Esquire                            Steven K. Kortanek, Esquire
Saul Ewing LLP                                  Mark L. Desgrosseilliers, Esquire
222 Delaware Avenue, Suite 1200                 Womble Carlyle Sandridge & Rice, LLP
P.O. Box 1266                                   222 Delaware Avenue, Suite 1501
Wilmington, DE 19899                            Wilmington, DE 19801
Email: mminuti@saul.com                         Email: skortanek@wcsr.com
                                                Email: mdesgrosseilliers@wcsr.com
Adam G. Landis, Esquire
Matthew B. McGuire, Esquire                     Pauline K. Morgan, Esquire
Landis Rath & Cobb LLP                          Joel A. Waite, Esquire
919 Market Street, Suite 1800                   Ryan M. Bartley, Esquire
Wilmington, DE 19801                            Andrew L. Magaziner, Esquire
Email: landis@lrclaw.com                        Young Conaway Stargatt & Taylor, LLP
Email: mcguire@lrclaw.com                       Rodney Square
                                                1000 North King Street
Laurie Selber Silverstein, Esquire              Wilmington, DE 19801
Jeremy W. Ryan, Esquire                         Email: pmorgan@ycst.com
Potter Anderson & Corroon LLP                   Email: jwaite@ycst.com
1313 North Market Street, 6th Floor             Email: rbartley@ycst.com
P.O. Box 951                                    Email: amagaziner@ycst.com
Wilmington, DE 19801
Email: lsilverstein@potteranderson.com          Derek C. Abbott, Esquire
Email: jryan@potteranderson.com                 Andrew R. Remming, Esquire
                                                Erin R. Fay, Esquire
Marc J. Phillips, Esquire                       Morris Nichols Arsht & Tunnell LLP
Manion Gaynor & Manning LLP                     1201 North Market Street, Suite 1600
The Nemours Building                            Wilmington, DE 19801
1007 North Orange Street, 10th Floor            Email: dabbot@mnat.com
Wilmington, DE 19801                            Email: aremming@mnat.com
Email: mphillips@mgmlaw.com                     Email: efay@mnat.com
           Case 14-10979-CSS       Doc 2007-2   Filed 09/12/14    Page 3 of 12




Chris Simon, Esquire
Michael J. Joyce, Esquire                       Jeffrey M. Schlerf, Esquire
Cross & Simon, LLC                              John H. Strock, Esquire
913 N. Market Street, 11th Floor                L. John Bird, Esquire
P.O. Box 1380                                   Fox Rothschild LLP
Wilmington, DE 19899                            919 North Market Street, Suite 300
Email: mjoyce@crosslaw.com                      Wilmington, DE 19801
Email: csimon@crosslaw.com                      Email: jschlerf@foxrothschild.com
                                                Email: jstrock@foxrothschild.com
Mark S. Chehi, Esquire                          Email: jbird@foxrothschild.com
Kristhy M. Peguero, Esquire
Skadden, Arps, Slate, Meagher & Flom LLP        Mark E. Felger, Esquire
One Rodney Square                               Cozen O’Connor
P.O. Box 636                                    1201 North Market Street, Suite 1001
Wilmington, DE 19899                            Wilmington, DE 19801
Email: mark.chehi@skadden.com                   Email: mfelger@cozen.com
Email: kristhy.peguero@skadden.com
                                                Daniel K. Astin, Esquire
Howard A. Cohen, Esquire                        Joseph J. McMahon, Jr., Esquire
Robert K. Malone, Esquire                       Ciardi Ciardi & Astin
Drinker Biddle & Reath LLP                      1204 North King Street
222 Delaware Avenue, Suite 1410                 Wilmington, DE 19801
Wilmington, DE 19801                            Email: dastin@ciardilaw.com
Email: Howard.cohen@dbr.com                     Email: jmcmahon@ciardilaw.com
Email: Robert.malone@dbr.com
                                                Scott D. Cousins, Esquire
Michael G. Busenkell, Esquire                   Mark D. Olivere, Esquire
Gellert Scali Busenkell & Brown, LLC            Ann M. Kashishian, Esquire
913 N. Market Street, 10th Floor                Cousins Chipman & Brown, LLP
Wilmington, DE 19801                            1007 North Orange Street, Suite 1110
Email: mbusenkell@gsbblaw.com                   Wilmington, DE 19801
                                                Email: cousins@ccbllp.com
Kathleen M. Miller, Esquire                     Email: Olivere@ccbllp.com
Smith, Katzenstein & Jenkins LLP                Email: Kashishian@ccbllp.com
800 Delaware Avenue, Suite 1000
P0 Box 410                                      Michael D. DeBaecke, Esquire
Wilmington, DE 19899                            Stanley B. Tarr, Esquire
Email: kmiller@skjlaw.com                       Blank Rome LLP
                                                1201 Market Street, Suite 800
Stephen M. Miller, Esquire                      Wilmington, DE 19801
Morris James LLP                                Email: Debaecke@blankrome.com
500 Delaware Avenue, Suite 1500                 Email: Tarr@blankrome.com
Wilmington, DE 19899
Email: smiller@morrisjames.com
           Case 14-10979-CSS          Doc 2007-2   Filed 09/12/14    Page 4 of 12




Kathleen A. Murphy, Esquire                        Kramer Levin Naftalis & Frankel, LLP
Buchanan Ingersoll & Rooney PC                     Thomas Moers Mayer, Esquire
919 North Market Street, Suite 150C                Philip Bentley, Esquire
Wilmington, DE 19801                               Joshua K. Brody, Esquire
Email: kathleen.murphy@bipc.com                    1177 Avenue of the Americas
                                                   New York, New York 10036
Kurt F. Gwynne, Esquire                            Email: tmayer@kramerlevin.com
Kimberly E.C. Lawson, Esquire                      Email: pbentley@kramerlevin.com
Reed Smith LLP                                     Email: jbrody@kramerlevin.com
120l N. Market Street, Suite 1500
Wilmington, DE 19801                               Stephanie Wickouski, Esquire
Email: kgwynne@reedsmith.com                       Bryan Cave LLP
Email: klawson@reedsmith.com                       1290 Avenue of the Americas
                                                   New York, NY 10104-3300
Daniel K. Hogan, Esquire                           Email:
The Hogan Firm                                     stephanie.wickouski@bryancave.com
1311 Delaware Avenue
Wilmington, DE 19806                               Secretary of State
Fax: 302-656-7599                                  Division of Corporations
Email: dkhogan@hoganlaw.com                        Franchise Tax
                                                   P.O. Box 898
Kevin M. Capuzzi, Esquire                          Dover, DE 19903
Pinckney, Weidinger, Urban & Joyce LLC             Email: corp@delaware.gov
1220 North Market Street, Suite 950
Wilmington, DE 19801                               Secretary of Treasury
Email: kcapuzzi@pwujlaw.com                        820 Silver Lake Boulevard, Suite 100
                                                   Dover, DE 19904
Christopher A. Ward, Esquire                       Email: India.Street@state.de.us
Justin K. Edelson, Esquire
Shanti M. Katona, Esquire                          Andrew M. Calamari, Esquire
Polsinelli PC                                      New York Regional Office
222 Delaware Avenue, Suite 1101                    Securities & Exchange Commission
Wilmington, De 19801                               3 World Financial Center, Suite 400
Email: cward@polsinelli.com                        New York, NY 10281-1022
Email: jedelson@polsinelli.com                     Email: NYROBankruptcy@SEC.GOV
Email: skatona@polsinelli.com
                                                   Michael A. Berman, Esquire
James E. Huggett, Esquire                          Office of the General Counsel
Amy D. Brown, Esquire                              Securities & Exchange Commission
Margolis Edelstein                                 100 F Street, NE
300 Delaware Avenue, Suite 800                     Washington, DC 20549
Wilmington, DE 19801
Email: jhuggett@margolisedelstein.com
Email: abrown@margolisedelstein.com
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Sean Lev, Esquire                               Jason A. Starks, Esquire
Office of the General Counsel                   Greg Abbott, Esquire
Federal Communications Commission               Daniel T. Hodge, Esquire
445 12th Street, SW                             John B. Scott, Esquire
Washington, DC 20554                            Ronald R. Del Vento, Esquire
Fax: 202-418-2822                               Bankruptcy & Collections Division
                                                P.O. Box 12548
Hugh M. McDonald, Esquire                       Austin, TX 78711
Louis A. Curcio, Esquire
Brett D. Goodman, Esquire                       Hal F. Morris, Esquire
Troutman Sanders LLP                            Ashley Flynn Bartram, Esquire
405 Lexington Avenue                            Bankruptcy Regulatory Section
New York, NY 10174                              Bankruptcy & Collections Division
hugh.mcdonald@troutmansanders.com               P.O. Box 12548
louis.curcio@troutmansanders.com                Austin, TX 78711-2548
brett.goodman@troutmansnaders.com               Email: hal.morris@texasattorneygeneral.gov
                                                Email:
Edward S. Weisfelner, Esquire                   ashley.bartram@texasattorneygeneral.gov
Brown Rudnick LLP
Seven Times Square                              Russell L. Munsch, Esquire
New York, NY 10036                              Munsch Hardt Kopf & Harr, P.C.
Email: eweisfelner@brownrudnick.com             3050 Frost Bank Tower
                                                401 Congress Avenue
Jeffrey L. Jonas, Esquire                       Austin, TX 78701-4071
Andrew P. Strehle, Esquire                      Email: rmunsch@munsch.com
Jeremy B. Coffey, Esquire
Howard Siegel, Esquire                          Kevin M. Lippman, Esquire
Brown Rudnick LLP                               Munsch Hardt Kopf & Harr, P.C.
One Financial Center                            500 N. Akard Street, Suite 3800
Boston, MA 02111                                Dallas, TX 75201-6659
Email: jjonas@brownrudnick.com                  Email: klippman@munsch.com
Email: astrehle@brownricnick.com
Email: jcoffey@brownrudnick.com                 Elizabeth Banda Calvo, Esquire
Email: hsiegel@brownrudnick.com                 Perdue, Brandon, Fielder, Collins & Mott
                                                P.O. Box 13430
Rachel Obaldo, Esquire, AAG                     Arlington, TX 76094-0430
John Mark Stern, Esquire, AAG                   Email: ebcalvo@pbfcm.com
Greg Abbott, Esquire
Office of the Texas Attorney General            Owen M. Sonik, Esquire
Bankruptcy & Collections Division               Perdue, Brandon, Fielder, Collins & Mott
P. O. Box 12548                                 1235 North Loop West, Suite 600
Austin, TX 78711-2548                           Houston, TX 77008
Email:                                          Email: osonik@pbfcm.com
greg.abbott@texasattorneygeneral.gov
          Case 14-10979-CSS      Doc 2007-2   Filed 09/12/14    Page 6 of 12




Philip D. Anker, Esquire                      Harold L. Kaplan, Esquire
George W. Shuster, Jr., Esquire               Mark F. Hebbeln, Esquire
Wilmer Cutler Pickering Hale and Don LLP      Lars A. Peterson, Esquire
7 World Trade Center                          Foley & Lardner LLP
250 Greenwich Street                          321 North Clark St., Ste. 2800
New York, NY 10007                            Chicago IL 60654
Email: philip.anker@wilmerhale.com            Email: mhebbeln@foley.com
Email: george.shuster@wilmerhale.com          Email: hkeplan@foley.com
                                              Email: lpeterson@foley.com
Benjamin W. Loveland, Esquire
Wilmer Cutler Pickering Hale and Don LLP      Peter S. Goodman, Esquire
60 State Street                               Michael R. Carney, Esquire
Boston, MA 02109                              McKool Smith
Email: benjamin.loveland@wilmerhale.com       One Bryant Park, 47th Floor
                                              New York, NY 10036
Fredric Sosnick, Esquire                      Email: pgoodman@mckoolsmith.com
Ned S. Schodek, Esquire                       Email: mcarney@mckoolsmith.com
Shearman & Sterling LLP
599 Lexington Avenue                          Paul D. Moak, Esquire
New York, NY 10022                            McKool Smith
Email: fsosnick@shearman.com                  600 Travis Street, Suite 7000
Email: nschodek@shearman.com                  Houston, TX 77002
                                              Email: pmoak@mckoolsmith.com
Michael A. McConnell, Esquire
Clay Taylor, Esquire                          Jeffrey S. Sabin, Esquire
Katherine Thomas, Esquire                     Bingham McCutchen LLP
Kelly Hart & Hallman LLP                      399 Park Avenue
201 Main Street, Suite 2500                   New York, NY 10022-4689
Fort Worth, TX 76102                          Email: jeffrey.sabin@bingham.com
Email: michael.mcconnell@kellyhart.com
Email: clay.taylor@kellyhart.com              Julia Frost-Davies, Esquire
Email: katherine.thomas@kellyhart.com         Christopher L. Carter, Esquire
                                              Bingham McCutchen LLP
Geoffrey Gay, Esquire                         One Federal Street
Lloyd Gosselink Rochelle & Townsend,PC        Boston, MA 02110-1726
816 Congress Avenue, Suite 1900               Email: julia.frost-davies@bingham.com
Austin, TX 78701                              Email: christopher.carter@bingham.com
Email: ggay@lglawfirm.com
                                              Desiree M. Amador, Esquire
                                              Office of the General Counsel
                                              Pension Benefit Guaranty Corp.
                                              1200 K Street, NW
                                              Washington, DC 20005-4026
                                              Email: amador.desiree@pbgc.gov
           Case 14-10979-CSS        Doc 2007-2   Filed 09/12/14   Page 7 of 12




Edward M. King, Esquire                          Lee Gordon, Esquire
Frost Brown Todd LLC                             McCreary, Veselka, Bragg & Allen, PC
400 W. Market Street, 32nd Floor                 P.O. Box 1269
Louisville, KY 40202                             Round Rock, TX 78680
Email: tking@fbtlaw.com                          Email: lgordon@mvbalaw.com

James Prince, Esquire                            Richard G. Mason, Esquire
Omar J. Alaniz, Esquire                          Emil A. Kleinhaus, Esquire
Ian E. Roberts, Esquire                          Austin T. Witt, Esquire
Baker Botts LLP                                  Wachtell, Lipton, Rosen & Katz
2001 Ross Avenue                                 51 West 52 Street
Dallas, TX 75201                                 New York, NY 10019
Email: jim.prince@bakerbotts.com                 Email: rgmason@wlrk.com
Email: omar.alaniz@bakerbotts.com                Email: eakleinhaus@wlrk.com
Email: ian.roberts@bakerbotts.com                Email: atwitt@wlrk.com

Jay M. Goffman, Esquire
Skadden, Arps, Slate, Meagher & Flom LLP         David E. Leta, Esquire
Four Times Square                                Snell & Wilmer LLP
New York, NY 10036                               15 West South Temple, Suite 1200
Email: jay.goffman@skadden.com                   Salt Lake City, UT 84101
                                                 Email: dleta@swlaw.com
George N. Panagakis, Esquire
Carl T. Tuilson, Esquire                         John P. Dillman, Esquire
Skadden, Arps, Slate, Meagher & Flom LLP         Linebarger Goggan Blair & Sampson, LLP
155 North Wacker Drive, Suite 2700               P.O. Box 3064
Chicago, IL 60606                                Houston, TX 77253
Email george.panagakis@skadden.com               Fax: 713-844-3501
Email: carl.tuilson@skadden.com
                                                 Dennis F. Dunne, Esquire
Alan W. Kornberg, Esquire                        Evan R. Fleck, Esquire
Kelly A. Cornish, Esquire                        Karen Gartenberg, Esquire
Brian S. Hermann, Esquire                        Milbank, Tweed, Hadley & McCloy LLP
Jacob A. Adlerstein, Esquire                     One Chase Manhattan Plaza
Paul, Weiss, Rifkind, Wharton & Garrison         New York, NY 10005
1285 Avenue of the Americas                      Email: efleck@milbank.com
New York, NY 10019                               Email: ddunne@milbank.com
Email: akornberg@paulweiss.com                   Email: kgartenberg@milbank.com
Email: kcornish@paulweiss.com
Email: bhermann@paulweiss.com
Email: jadlerstein@paulweiss.com
           Case 14-10979-CSS        Doc 2007-2   Filed 09/12/14   Page 8 of 12




                                                 Jonathan Hook, Esquire
Brad Eric Scheler, Esquire                       Haynes and Boone LLP
Gary L. Kaplan, Esquire                          30 Rockefeller Center, 26th Floor
Matthew M. Roose, Esquire                        New York, NY 10112
Fried, Frank, Harris, Schriver & Jacobson        Email: jonathan.hook@haynesboone.com
One New York Plaza                               Patrick L. Hughes, Esquire
New York, NY 10004                               Haynes and Boone LLP
Email: brad.scheler@friedfrank.com               1221 McKinney Street, Suite 1200
Email: gary.kaplan@friedfrank.com                Houston, TX 77010
Email: matthew.roose@friedfrank.com              Email: patrick.hughes@haynesboone.com

William P. Weintraub, Esquire                    Michael L. Schein, Esquire
Kizzy L. Jarashow, Esquire                       Vedder Price PC
Goodwin Procter LLP                              1633 Broadway, 47th Floor
The New York Times Building                      New York, NY 10019
620 Eighth Avenue                                Email: mschein@vedderprice.com
New York, NY 10018
Email: wweintraub@goodwinproctor.com             Daniel A. Lowenthal, Esquire
Email: kjarashow@goodwinproctor.com              Craig W. Dent, Esquire
                                                 Patterson Belknap Webb & Tyler LLP
Richard C. Pedone, Esquire                       1133 Avenue of the Americas
Amanda D. Darwin, Esquire                        New York, NY 10036
Lee Harrington, Esquire                          Email: dalowenthal@pbwt.com
Nixon Peabody LLP                                Email: cwdent@pbwt.com
100 Summer Street
Boston, MA 02110                                 John A. Harris, Esquire
Email: rpedone@nixonpeabody.com                  Jason D. Curry, Esquire
Email: adarwin@nixonpeabody.com                  Quarles & Brady LLP
Email: lharrington@nixonpeabody.com              Renaissance One
                                                 Two North Central Avenue
Marshall S. Huebner, Esquire                     Phoenix, AZ 85004-2391
Benjamin S. Kaminetzky, Esquire                  Email: john.harris@quarles.com
Elliot Moskowitz, Esquire                        Email: jason.curry@quarles.com
Damon P. Meyer, Esquire
Davis Polk & Wardwell LLP                        Stephen C. Stapleton, Esquire
450 Lexington Avenue                             Cowles & Thompson
New York, NY 10017                               Bank of America Plaza
Email: marshall.huebner@davispolk.com            901 Main Street, Suite 3900
Email: ben.kaminetzky@davispolk.com              Dallas, TX 75202
Email: elliot.moskowitz@davispolk.com            Email: sstapleton@cowlesthompson.com
Email: damon.meyer@davispolk.com
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J. Christopher Shore, Esquire                   Daniel A. Lowenthal, Esquire
Gregory M. Starner, Esquire                     Patterson Belknap Webb & Tyler LLP
White & Case LLP                                1133 Avenue of the Americas
1155 Avenue of the Americas                     New York, NY 10036
New York, NY 10036                              Email: dalowenthal@pbwt.com
Email: cshore@whitecase.com
Email: gstarner@whitecase.com                   Jeffrey R. Fine, Esquire
                                                Dykema Gossett PLLC
Thomas E. Lauria, Esquire                       1717 Main Street, Suite 4000
Matthew C. Brown, Esquire                       Dallas, Texas 75201
White & Case LLP                                Email: jfine@dykema.com
200 South Biscayne Blvd., Suite 4900
Miami, FL 33131                                 Christine C. Ryan, Esquire
Email: tlauria@whitecase.com                    Brickfield, Burchette, Rifts & Stone, PC
Email: mbrown@whitecase.com                     1025 Thomas Jefferson Street, NW
                                                Washington, DC 20007
Thomas J. Moloney, Esquire                      Email: cryan@bbrslaw.com
Sean A. O’Neal, Esquire
Humayun Khalid, Esquire                         David Neier, Esquire
Cleary Gottlieb Steen & Hamilton LLP            Winston & Strawn LLP
One Liberty Plaza                               200 Park Avenue
New York, NY 10006                              New York, NY 10166
Email: tmoloney@cgsh.com                        Email: dneier@winston.com
Email: soneal@cgsh.com
Email: hkhalid@cgsh.com                         Donald K. Ludman, Esquire
                                                Brown & Connery, LLP
Ira S. Dizengoff, Esquire                       6 North Broad Street, Suite 100
Abid Qureshi, Esquire                           Woodbury, NJ 08096
Stephen M. Baldini, Esquire                     Email: dludman@brownconnery.com
Akin Gump Strauss Hauer & Feld LLP
One Bryant Park                                 Jon Chatalian, Esquire
Bank of America Tower                           Pension Benefit Guaranty Corporation
New York, NY 10036                              Office of the Chief Counsel
Email: idizengoff@akingump.com                  1200 K Street, NW
Email: aqureshi@akingump.com                    Washington, DC 20005
Email: sbaldini@akingump.com                    Email: Chatalian.jon@pbgc.com

Scott L. Alberino, Esquire                      Jonathan L. Howell, Esquire
Joanna F. Newdeck, Esquire                      McCathern, PLLC
Akin Gump Strauss Hauer & Feld LLP              Regency Plaza
Robert S. Strauss Building                      3710 Rawlins, Suite 1600
1333 New Hampshire Avenue, NW                   Dallas, TX 75219
Washington, DC 20036                            Email: jhowell@mccathernlaw.com
Email: salberino@akingump.com
Email: jnewdeck@akingump.com
          Case 14-10979-CSS         Doc 2007-2   Filed 09/12/14    Page 10 of 12




                                                 Robert J. Myers, Esquire
Stephen Sakonchick, II, Esquire                  Myers & Hill
Stephen Sakonchick II, PC                        2525 Ridgmar Blvd., Suite 150
6502 Canon Wren Drive                            Fort Worth, TX 76116
Austin, TX 78746                                 Fax: 817-731-2501

John R. Ashmead, Esquire                         D. Ross Martin, Esquire
Kalyan Das, Esquire                              Keith H. Wofford, Esquire
Arlene R. Alves, Esquire                         Ropes & Gray, LLP
Seward & Kissel LLP                              Prudential Tower
One Battery Park Plaza                           800 Boylston Street
New York, NY 10004                               Boston, MA 02199-3600
Email: ashmead@sewkis.com                        Email: ross.martin@ropesgray.com
Email: das@sewkis.com                            Email: Keith.Wofford@ropesgray.com
Email: alves@sewkis.com
                                                 Robert Szwajkos, Esquire
Jeffrey T. Rose, Esquire                         Curtin & Heefner LLP
Vice President                                   250 Pennsylvania Avenue
Wilmington Trust FSB                             Morrisville, PA 19067
50 South Sixth Street, Suite 1290                Email: rsz@curtainheefner.com
Minneapolis, MN 55402
                                                 Gregory M. Weinstein, Esquire
Michael B. Schaedle, Esquire                     Weinstein Radcliff LLP
Blank Rome LLP                                   6688 N. Central Expressway, Suite 675
One Logan Square                                 Dallas, TX 75206
130 North 18th Street
Philadelphia, PA 19103                           Shawn M. Christianson, Esquire
Email: schaedle@blankrome.com                    Buchalter Nemer, PC
                                                 55 Second Street, 17th Floor
Michael L. Atchley, Esquire                      San Francisco, CA 94105-3493
Matthew T. Taplett, Esquire                      Email: schristianson@buchalter.com
Pope, Hardwicke, Christie, Schell, Kelly
500 West 7th Street, Suite 600                   Patricia Williams Prewitt, Esquire
Fort Worth, EX 76102                             Law office of Patricia Williams Prewitt
Fax: 817-877-4781                                10953 Vista Lake Court
                                                 Navasota, TX 77868
Monica Blacker, Esquire                          Email: pwp@pattiprewittlaw.com
J. Scott Rose, Esquire
Jackson Walker, LLP                              Jody A. Bedenbaugh, Esquire
Weston Centre                                    George B. Cauthen, Esquire
112 E. Pecan Street, Suite 2400                  Nelson Mullins Riley & Scarborough LLP
San Antonio, TX 78205                            1320 Main Street, 17th Floor
Email: mblacker@jw.com                           P.O. Box 11070
Email: jrose@jw.com                              Columbia, SC 29201
                                                  jody.bedenbaugh@nelsonmullins.com
                                                  george.cauthen@nelsonmullins.com
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                                                Christopher B. Mosley, Esquire
William T. Medaille, Esquire                    Senior Assistant City Attorney
Lower Colorado River Authority                  City of Fort Worth
Legal Services                                  1000 Throckmorton Street
PO Box 220                                      Fort Worth, TX 76102
Austin, TX 78767                                Email: Chris.Mosley@fortworthtexas.gov

Judy Hamilton Morse, Esquire                    James M. Peck, Esquire
Crowe & Dunlevy, PC                             Brett H. Miller, Esquire
20 North Broadway, Suite 1800                   Lorenzo Marinuzzi, Esquire
Oklahoma City, OK 73102                         Morrison & Foerster
Email: judy.morse@crowedunlevy.com              250 W. 55th Street
                                                New York, NY 10019
Diane Wade Sanders, Esquire                     Email: jpeck@mofo.com
Linebarger Goggan Blair & Sampson, LLP          Email: bmiller@mofo.com
PO Box 17428                                    Email: lmarinuzzi@mofo.com
Austin, TX 78760
Fax: 512-443-5114                               Edward Fox, Esquire
                                                Polsinelli PC
Jamie R. Welton, Esquire                        900 Third Avenue, 21st Floor
Lackey Hershman, LLP                            New York, NY 10022
3102 Oak Lawn Avenue, Suite 777                 Email: efox@polsinelli.com
Dallas, TX 75219
Email: jrw@lhlaw.com                            Michael G. Smith, Esquire
                                                111 North 6th Street
Jordan S. Blask, Esquire                        P.O. Box 846
Lara E. Shipkovitz, Esquire                     Clinton, OK 73601
Tucker Arensberg, PC                            Email: mike@mikesmithlaw.net
1500 One PPG Place
Pittsburgh, PA 15222                            Jacob L. Newton, Esquire
Email: jblask@tuckerlaw.com                     Stutzman, Bromberg, Esserman & Plifka
Email: lshipkovitz@tuckerlaw.com                2323 Bryan Street, Suite 2200
                                                Dallas, TX 75201
Jeanmarie Baer, Esquire                         Email: neston@sbep-law.com
Perdue, Brandon, Fielder, Collins & Mott,
LLP                                             Ari D. Kunofsky, Esquire
P.O. Box 8188                                   W. Bradley Russell, Esquire
Wichita Falls, TX 76307                         Trial Attorneys, Tax Division
Email: jbaer@pbfcm.com                          U. S. Department of Justice
                                                PO Box 227
                                                Washington, DC 20044
                                                Email: ari.d.kunofsky@tax.usdoj.gov
                                                Email: william.b.russell@tax.usdoj.gov
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Ronald L. Rowland, Agent
Receivable Management Services                     Cole, Schotz, Meisel, Forman & Leonard
307 International Circle, Suite 270                Norman L. Pernick, Esquire
Hunt Valley, MD 21030                              J. Kate Stickles, Esquire
                                                   Nicholas J. Brannick, Esquire
Thomas D. Maxson, Esquire                          500 Delaware Avenue, Suite 1410
Cohen & Grigsby, P.C.                              Wilmington, DE 19801
625 Liberty Avenue                                 Email: Kstickles@coleschotz.com
Pittsburgh, PA 15222-3152                          Email: NBrannick@coleschotz.com
Email: tmaxson@cohenlaw.com                        Email: NPernick@coleshotz.com

Pachulski Stang Ziehl & Jones LLP                  Cole, Schotz, Meisel, Forman & Leonard
Laura Davis Jones, Esquire                         Warren A. Usatine, Esquire
Robert J. Feinstein, Esquire                       25 Main Street
Timothy Cairns, Esquire                            P.O. Box 800
919 N. Market Street, 17th Floor                   Hackensack, NJ 07602
P.O. Box 8705                                      Email: Wusatine@coleschotz.com
Wilmington, DE 19899-8705
Email: ljones@pszjlaw.com                          James H. Millar, Esquire
Email: rfeinstein@pszjlaw.com                      Drinker Biddle & Reath LLP
                                                   1177 Avenue of the Americas
Raymond H. Lemisch, Esquire                        41st Floor
Klehr Harrison Harvey Branzburg LLP                New York, NY 10036-2714
919 Market Street, Suite 1000                      Email: James.Millar@dbr.com
Wilmington, Delaware 19801
Email: rlemisch@klehr.com

/s/Richard L. Schepacarter
Richard L. Schepacarter
Trial Attorney
